Order filed September 1, 2016




                                       In The

                     Fourteenth Court of Appeals
                                    ____________

                               NO. 14-16-00554-CV
                                    ____________

    LADALLE CALLAWAY AND DEMETRIUS CLEAVER, Appellants

                                          V.

           BRENDA BUEHLER AND HUGO RAMIREZ, Appellees


               On Appeal from County Civil Court at Law No. 4
                            Harris County, Texas
                      Trial Court Cause No. 1040590

                                     ORDER

      Appellants’ brief was due August 26, 2016. No brief or motion for extension
of time has been filed.

      Unless appellants file a brief with this court on or before September 26, 2016,
the court will dismiss the appeal for want of prosecution. See Tex. R. App. P. 42.3(b).

                                   PER CURIAM
